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Attorneys for Montana Department of Commerce


              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                         HELENA DIVISION


FORT HARRISON VETERANS
RESIDENCES, LP,
                                         Case 6:24-CV-00037-BMM-KLD
                Plaintiff,

     v.                                  DECLARATION OF CHERYL
                                         COHEN
MONTANA DEPARTMENT OF
COMMERCE, in its official
capacity and as a federally
designated public housing agency,

                Defendant.

     I, Cheryl Cohen, under penalty of perjury, declare as follows:

     1.    I am the Division Administrator of the Montana Department of

Commerce, Housing Division, and the Executive Director of the Montana

Board of Housing.

     2.    I am over the age of eighteen, of sound mind, and make this
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declaration upon my own personal knowledge or upon review of records

kept in the ordinary course of my employment by the State of Montana.

     3.    I am familiar with the Freedom’s Path housing project which is

the subject of the Plaintiff’s Complaint. The project receives, on average,

more than $5,000 per assisted dwelling unit annually in project based

assistance, for purposes of the application of 24 C.F.R. § 35.715.

     4.    Attached as Exhibit 1 is a true and correct copy of an e-mail

message I received from HUD employee Tara Radosevich on July 31,

2023 related to the Freedom’s Path project.

     5.    Attached as Exhibit 2 is a true and correct copy of a memo I

received from HUD employee Zachary Urban, dated April 17, 2024, related

to the Freedom’s Path project.

     6.    Attached as Exhibit 3 is a true and correct copy of a memo I

received from HUD employee Zachary Urban, dated May 24, 2024, related

to the Freedom’s Path project.

     7.    Attached as Exhibit 4 is a true and correct copy of a letter I

received from HUD employee Zachary Urban, dated March 8, 2024, related

to the Freedom’s Path project.




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     I declare under penalty of perjury under 28 U.S.C. § 1746 that the

foregoing is true and correct to the best of my knowledge.

     Executed on this 2nd day of July, 2024.


                             _______________________
                                  Cheryl Cohen




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                       CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing document was served on the
following using the court’s CM/ECF system on the 2nd day of July, 2024

Jeffrey M. Roth
Michael Green
Crowley Fleck PLLP
305 South 4th St E, Suite 100
Missoula, MT 59801

                                  ___________________________
                                  Michael P. Talia




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